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ADMITTED TO PRACTICE IN: JAMES M. MALONEY

NEW York; New JERSEY;

UNITED STATES SUPREME COURT; ATTORNEY AT LAW

U.S. COURTS OF APPEALS FOR THE

SECOND AND THIRD CIRCUITS; PROCTOR IN ADMIRALTY TEL: (516) 767-1395
U.S. DISTRICT COURTS FOR THE . =
EASTERN DISTRICT OF TEXAS, FAX: (516) 708-1395
DISTRICT OF NEW JERSEY, = 4

NORTHERN DISTRICT OF FLORIDA, . .
NORTHERN DISTRICT OF ILLINOIS, - E-MAIL ADDRESS:
DISTRICT OF CONNECTICUT, AND aa maritimelaw@nyu.edu
NORTHERN, SOUTHERN & EASTERN P.O. Box 551

DISTRICTS OF NEW YORK; U.S.

COURT OF INTERNATIONAL TRADE; 33 BAYVIEW AVENUE

U.S. COURT OF FEDERAL CLAIMS.
PORT WASHINGTON, NY 11050

 

December 7, 2018

The Honorable Pamela K. Chen
United States District Judge, E.D.N.Y. Via ECF
Re: Maloney v. Singas, 03-cv-786

Dear Judge Chen:

Further to Wednesday’s oral argument, I am writing, as promised, to identify two parts of
the transcript of Sensei Pellitteri’s testimony that were referenced:

(1) Sensei Pellitteri states that “nunchucks seem to be the most popular martial arts
weapon” at page 238, lines 9-10, and immediately thereafter explains his basis for the belief.
That opinion is further developed beginning at the top of page 244. Related testimony appears
beginning at page 253, line 17.

(2) Sensei Pellitteri refers to “the practical self-defense applications” of nunchaku training
at page 226, lines 12-13, and opines about the utility of the nunchaku as a home defense weapon
beginning at page 237, line 11. Cross-examination as to the practicality of self-defense with
nunchaku begins at page 299, line 11.

Respectfully submitted,

   

James Michael Maloney
